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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION

                              CASE NO. 22-CV-81294-CANNON

  DONALD J. TRUMP,

          Plaintiff,

  v.

  UNITED STATES OF AMERICA,

        Defendant.
  ________________________________/

       THE UNITED STATES’ MOTION FOR A PARTIAL STAY PENDING APPEAL

          Pursuant to Federal Rule of Appellate Procedure 8(a)(1), the United States respectfully

  moves for a partial stay pending appeal of the Court’s September 5, 2022 Order, Docket Entry

  (“D.E.”) 64. Specifically, the government seeks a stay to the extent the Order (1) enjoins the

  further review and use for criminal investigative purposes of records bearing classification

  markings that were recovered pursuant to a court-authorized search warrant and (2) requires

  the government to disclose those classified records to a special master for review. The

  government respectfully requests that the Court rule on this motion promptly. If the Court

  does not grant a stay by Thursday, September 15, the government intends to seek relief from

  the Eleventh Circuit.

          Although the government respectfully disagrees with the Court’s injunction as to a

  much broader set of seized materials already in the possession of the investigative team, it is

  not at this time seeking a stay as to the vast majority of those materials. Instead, this motion
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  is limited to the Order’s directives with respect to the seized classified records 1 because those

  aspects of the Order will cause the most immediate and serious harms to the government and

  the public. The classified records—a discrete set of just over 100 documents—have already

  been segregated from the other seized records and are being maintained separately. See D.E.

  64 at 4 n.4; D.E. 48 at 13. A stay as to that limited set of records is warranted for three reasons.

         First, the government is likely to succeed in its appeal of the Order as it applies to

  classified records. Indeed, the government is likely to succeed even under the Court’s own

  reasoning, which focused principally on Plaintiff’s “personal documents.” D.E. 64 at 9; see id.

  at 12-13, 14-16, 20-21. Plaintiff does not and could not assert that he owns or has any

  possessory interest in classified records; that he has any right to have those government

  records returned to him; or that he can advance any plausible claims of attorney-client

  privilege as to such records that would bar the government from reviewing or using them.

  And although this Court suggested that Plaintiff might be able to assert executive privilege as

  to some of the seized records, Supreme Court precedent makes clear that any possible

  assertion of privilege that Plaintiff might attempt to make over the classified records would be

  overcome by the government’s “demonstrated, specific need” for that evidence. United States

  v. Nixon, 418 U.S. 683, 713 (1974) (“United States v. Nixon”). Among other things, the classified

  records are the very subject of the government’s ongoing investigation.

          Second, the government and the public would suffer irreparable harm absent a stay.


  1
    As discussed herein, a classification review of these materials was in progress at the time of
  the Court’s order but has not been completed. For ease of reference and because materials
  marked as classified (and papers physically attached to them) must be treated as classified
  until determined otherwise, this motion refers to records bearing classification markings as
  “classified records.”

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  This Court correctly recognized the government’s vital interest in conducting a national

  security risk assessment of the possible unauthorized disclosure of the classified records and

  any harm that may have resulted. The Court thus stated that its Order was not intended to

  “impede the classification review and/or intelligence assessment by the Office of the Director

  of National Intelligence (‘ODNI’).” D.E. 64 at 1-2. But the review and assessment on their

  own are not sufficient to address and fully mitigate any national security risks presented. The

  Intelligence Community’s review and assessment cannot be readily segregated from the

  Department of Justice’s (“DOJ”) and Federal Bureau of Investigation’s (“FBI”) activities in

  connection with the ongoing criminal investigation, and uncertainty regarding the bounds of

  the Court’s order and its implications for the activities of the FBI has caused the Intelligence

  Community, in consultation with DOJ, to pause temporarily this critically important work.

  Moreover, the government and the public are irreparably injured when a criminal

  investigation of matters involving risks to national security is enjoined.

         Third, the partial stay sought here would impose no cognizable harm on Plaintiff. It

  would not disturb the special master’s review of any other records, including any personal

  materials or records potentially subject to attorney-client privilege. The government has

  already reviewed the classified records, and the Court’s order contemplates that it may

  continue to do so for certain national security purposes. A stay would simply allow the

  government to continue to review and use the same records—which, again, indisputably

  belong to the government, not Plaintiff—in its ongoing criminal investigation as well.

                               PROCEDURAL BACKGROUND

         The government has described in detail the factual background related to its ongoing



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  investigation. D.E. 48 at 3-14. On August 8, 2022, the government executed a search warrant

  at the premises of Plaintiff former President Donald J. Trump based on a judicial finding of

  probable cause that the search would uncover evidence of violations of 18 U.S.C. §§ 793

  (willful retention of national defense information), 2071 (concealment or removal of

  government records), and 1519 (obstruction of a federal investigation). D.E. 48 at 5. During

  the search, the government seized thirty-three boxes, containers, or other items of evidence,

  which contained roughly one hundred classified records, including records marked TOP

  SECRET and records containing additional sensitive compartmented information. Id. at 12-

  13.

         Two weeks later, Plaintiff initiated proceedings in this Court seeking an order

  appointing a special master to review all seized materials and manage potential claims of

  attorney-client and executive privilege, as well as an injunction barring the government’s

  review and use of the seized materials. D.E. 1. On September 5, 2022, following further

  briefing by the parties and a hearing, the Court issued an Order authorizing the appointment

  of a special master “to review the seized property, manage assertions of privilege and make

  recommendations thereon, and evaluate claims for return of property,” and “enjoin[ing]” the

  government “from further review and use of any of the materials . . . for criminal investigative

  purposes pending resolution of the special master’s review process as determined by this

  Court.” D.E. 64 at 23-24.

         The Court also ordered the parties to submit a list of special master candidates and

  proposals on the procedures for the special master’s review, including “the special master’s

  duties.” D.E. 64 at 24. The government will provide its views on those issues by Friday,



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  September 9, as ordered. Among other things, the government’s upcoming filing will confirm

  that it plans to make available to Plaintiff copies of all unclassified documents recovered

  during the search—both personal records and government records—and that the government

  will return Plaintiff’s personal items that were not commingled with classified records and

  thus are of likely diminished evidentiary value.

                                           DISCUSSION

          A stay pending appeal is appropriate when the moving party shows that (1) it is likely

  to succeed on the merits; (2) it will suffer irreparable harm without a stay; (3) a stay will not

  substantially injure other interested parties; and (4) the public interest supports the stay. Nken

  v. Holder, 556 U.S. 418, 425-26 (2009). All of those requirements are amply satisfied here.

     I.      The Government Is Likely to Succeed on the Merits

             a. The Court Erred by Exercising Its Equitable Jurisdiction to Enjoin the
                Government’s Use of the Classified Records

          As an initial matter, Plaintiff has not shown that he had standing to seek relief, or that

  this Court properly exercised its equitable jurisdiction, with regard to the classified records.

  The classified records are government property over which the Executive Branch has control

  and in which Plaintiff has no cognizable property interest. See Exec. Order 13526, § 1.1(2)

  (Dec. 29, 2009) (classified information must be “owned by, produced by or for, or [be] under

  the control of the United States Government”); Dep’t of Navy v. Egan, 484 U.S. 518, 527 (1988).

  Accordingly, even if (as the Court stated) Plaintiff has made “a colorable showing of a right

  to possess at least some of the seized property” sufficient to establish his standing to request

  that a special master review records that might potentially belong to him, D.E. 64 at 13, he

  categorically cannot make that showing with respect to documents marked as classified.


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         Likewise, this Court’s exercise of equitable jurisdiction—which is “reserved for

  ‘exceptional’ circumstances” and “must be ‘exercised with caution and restraint,’” D.E. 64 at

  8 (citation omitted)—cannot extend to classified records. Under Richey v. Smith, 515 F.2d

  1239 (5th Cir. 1975), the exercise of that jurisdiction is governed by four factors: (1) whether

  the government has “displayed a callous disregard for the constitutional rights” of the subject

  of the search; (2) “whether the plaintiff has an individual interest in and need for the material

  whose return he seeks”; (3) “whether the plaintiff would be irreparably injured by denial of

  the return of his property”; and (4) “whether the plaintiff has an adequate remedy at law for

  the redress of his grievance.” Id. at 1243-44 (internal quotations and citations omitted). None

  of those factors favors exercising jurisdiction as to the classified records.

         As to the first factor, the Court has already agreed with the government that Plaintiff

  has failed to show a “callous disregard for [his] constitutional rights.” D.E. 64 at 9. That factor

  alone is entitled to significant weight. See Richey, 515 F.2d at 1243 (describing this factor as

  “[f]irst, and perhaps foremost”); 6 WAYNE R. LAFAVE, SEARCH AND SEIZURE § 11.2(h), at

  142-43 (6th ed. 2020) (similar).

         The second and third factors likewise counsel against exercising equitable jurisdiction

  with respect to the classified records. Those factors apply only to “the material whose return

  [the plaintiff] seeks” and to injury resulting from “denial of the return of his property.” Richey,

  515 F.2d at 1243. Plaintiff, however, has no right to the “return” of classified records, which

  are not “his” property. Id. Classified records also are not “personal” to Plaintiff and would

  not reveal any sensitive personal information. D.E. 64 at 9, 21. Accordingly, Plaintiff has no

  cognizable “individual” interest in any classified records (or in having a special master review



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  those records), and he cannot be “irreparably injured” if such records are not returned to him.

  Richey, 515 F.2d at 1243. The Court’s determination that the second and third Richey factors

  favored the exercise of equitable jurisdiction relied on its finding that Plaintiff had an interest

  in “at least a portion” of the seized records, including “medical documents, correspondence

  related to taxes,” “accounting information,” and “material potentially subject to attorney-

  client privilege,” and that identification of such materials “cannot reasonably be determined

  at this time.” D.E. 64 at 9. 2 But that rationale is categorically inapplicable to the classified

  records at issue in this motion, which are easily identifiable by their markings, are already

  segregated from the other seized records, and do not include personal records or potentially

  privileged communications with his personal attorneys.

         Similarly, the Court’s reasoning with respect to the fourth factor—that “[w]ithout Rule

  41(g), Plaintiff would have no legal means of seeking the return of his property for the time

  being,” D.E. 64 at 10—is categorically inapplicable to classified records because Plaintiff has

  no legal right to have those records returned to him. Such records clearly belong in

  government custody and, as a matter of national security, must be fully accessible to the

  Executive Branch. Accordingly, the government is likely to succeed in demonstrating that




  2
    As counsel for the government’s filter team noted in the hearing before this Court, counsel
  was “prepared to . . . reach out to counsel” for Plaintiff and “provide them with a copy” of
  all potentially privileged materials that were segregated by the filter team, which “appl[ied]
  an extremely expansive view of the attorney-client privilege to be over inclusive and err on
  the side of caution.” 9/1/2022 Hrg. Tr. 47:22-24, 49:15-17. In light of the Court’s prior order
  providing notice of its intent to appoint a special master, D.E. 29, the government “put a
  pause on that process” but sought the Court’s permission during the hearing to provide copies
  of these materials to Plaintiff’s counsel. 9/1/2022 Hrg. Tr. 49:23, 52:23-53:11. The Court
  “reserve[ed] ruling on that request” in order to “consider it holistically in the assessment of
  whether a special master is indeed appropriate.” Id. at 53:18-21.

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  Plaintiff failed to establish the propriety of this Court’s exercise of equitable jurisdiction under

  Richey with respect to the seized classified records.

             b. The Court Erred by Enjoining Further Review and Use of Classified Records
                and by Ordering Review of Such Records by a Special Master

         The Court enjoined further review and use of the seized materials “for criminal

  investigative purposes” pending review by a special master to determine whether any of those

  materials are personal materials subject to return under Rule 41(g) and to address potential

  claims of attorney-client or executive privilege. D.E. 64 at 23. As the government has

  explained, those steps were not warranted as to any of the seized materials in the possession

  of the investigative team. D.E. 48 at 22-32. But even under the Court’s contrary reasoning,

  there is no justification for extending the injunction and special-master review to the classified

  records. The classification markings establish on the face of the documents that they are

  government records, not Plaintiff’s personal records. The government’s review of those

  records does not raise any plausible attorney-client privilege claims because such classified

  records do not contain communications between Plaintiff and his private attorneys. And for

  several reasons, no potential assertion of executive privilege could justify restricting the

  Executive Branch’s review and use of the classified records at issue here.

         First, Nixon v. Administrator of General Services, 433 U.S. 425 (1977) (“Nixon v. GSA”),

  indicates that a former President may not successfully assert executive privilege against review

  by “the very Executive Branch in whose name the privilege is invoked.” Id. at 447-48; see D.E.

  48 at 23-26. This Court observed that the Supreme Court has not decided whether a former

  President may prevent “disclosure of privileged records from his tenure in office” despite “a

  determination by the incumbent President to waive the privilege.” D.E. 48 at 17 (quoting


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  Trump v. Thompson, 142 S. Ct. 680, 680 (2022) (per curiam)). But as this Court acknowledged,

  Thompson involved a claim of executive privilege by Plaintiff as to records sought by a

  congressional committee—that is, he sought to prevent dissemination of purportedly privileged

  materials outside the Executive Branch. Id. Neither the Supreme Court’s opinion denying

  Plaintiff’s request for a stay in Thompson nor Justice Kavanaugh’s concurring statement

  suggested that a former President can successfully assert executive privilege to prevent the

  Executive Branch itself from reviewing and using its own records.

         Second, and in any event, even if a former President might in some circumstances be

  able to assert executive privilege against the Executive Branch’s review and use of its own

  documents, any such assertion would fail as to the classified records at issue here. Executive

  privilege is qualified, not absolute. In United States v. Nixon, the Supreme Court emphasized

  that privilege claims “must be considered in light of our historic commitment to the rule of

  law” and “[t]he need to develop all relevant facts in the adversary system,” 418 U.S. at 708-

  09, and the Court thus held that executive privilege “must yield to the demonstrated, specific

  need for evidence in a pending criminal trial,” id. at 713. This case does not involve a pending

  trial, but the need for the classified records is even more clearly demonstrated and specific

  here: The government is investigating potential violations of 18 U.S.C. § 793(e), which

  prohibits unauthorized retention of national defense information. The classified records are

  not merely relevant evidence; they are the very objects of the relevant criminal statute.

  Similarly, the government is investigating the adequacy of the response to a grand jury

  subpoena for all documents in Plaintiff’s possession “bearing classification markings.” D.E.

  48 Attachment C. Again, the seized classified records at issue here—each of which the



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   subpoena plainly encompassed—are central to that investigation.

          The Court appeared to recognize that a sufficient showing of need can overcome

   potential assertions of executive privilege by specifying that the government may continue to

   review and use the classified records in its classification review and national security risk

   assessment. D.E. 64 at 22-24. That aspect of the order reflects an implicit determination that

   no potential assertion of executive privilege by Plaintiff could justify preventing the Executive

   Branch from conducting that review and assessment of the classified records. But under United

   States v. Nixon, the same is true of the review and use of the information by the government in

   an ongoing criminal investigation. And it would be especially unwarranted to prohibit that

   review and use while authorizing other personnel in the Executive Branch to review and use

   the same information: There is no meaningful way in which “the protection of the

   confidentiality of Presidential communications,” United States v. Nixon, 418 U.S. at 705, is

   served by barring the Executive Branch’s review and use of the classified records for criminal

   investigative purposes while allowing a range of personnel across the Intelligence Community

   to review the very same records for other closely related purposes.

          Third, and for reasons independent of the Supreme Court’s holding in United States v.

   Nixon, any claim of executive privilege by Plaintiff against the Executive Branch would be

   especially implausible as to classified records. The Supreme Court has long recognized the

   President’s authority, as “head of the Executive Branch and as Commander in Chief,” “to

   classify and control access to information bearing on national security.” Egan, 484 U.S. at 527

   (emphasis added); see also, e.g., Murphy v. Sec’y, U.S. Dep’t of Army, 769 Fed. Appx. 779, 792

   (11th Cir. 2019) (“The authority to protect national security information falls on the



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   President.”). That authority falls upon the incumbent President, not on any former President,

   because it is the incumbent President who bears the responsibility to protect and defend the

   national security of the United States. Even if a former President’s invocation of executive

   privilege could prevent certain records from being disseminated outside the Executive Branch,

   cf. Thompson, 142 S. Ct. at 680, such an invocation cannot plausibly prevent the Executive

   Branch itself from accessing classified information, which is by definition controlled by the

   Executive Branch and critical to national security.

          Finally, Plaintiff himself declined to assert any claim of executive privilege over the

   classified records at the point when it would have been appropriate to do so. On May 11,

   2022, Plaintiff’s custodian of records was served with a grand jury subpoena seeking “[a]ny

   and all documents or writings in the custody or control of Donald J. Trump and/or the Office

   of Donald J. Trump bearing classification markings.” D.E. 48 Attachment C. To the extent

   that Plaintiff believed that any such records could be subject to a valid assertion of executive

   privilege, he should have advised the government of such a claim at that time and could have

   attempted to pursue such a claim through a motion to quash. But despite having several weeks

   to respond to the subpoena, Plaintiff did not do so. Instead, on June 3, 2022, Plaintiff’s

   counsel produced a set of classified records to the government, and Plaintiff’s custodian

   certified that “[a]ny and all responsive documents” had been produced after a “diligent

   search.” D.E. 48 Attachment E. Plaintiff cannot now maintain—following the government’s

   seizure of additional classified records that Plaintiff failed to produce—that classified records

   obtained in the search, which were responsive to the grand jury subpoena, are shielded from

   the government’s review by executive privilege. And his failure to raise any such claim in



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   response to the subpoena both undercuts his entitlement to equitable relief and further

   underscores that no plausible claim can be made now.

      II.       Without a Stay, the Government and the Public Will Suffer Irreparable Harm

            In recognition of the vital importance of assessing potential damage to our national

   security and intelligence interests, the Court specifically authorized the Office of the Director

   of National Intelligence (“ODNI”) to continue with “the classification review and/or

   intelligence assessment” it is leading to “assess[] . . . the potential risk to national security that

   would result from disclosure of the seized materials.” D.E. 64 at 1-2, 6 (citing D.E. 39 at 2-

   3). The Court simultaneously enjoined the government “from further review and use of any

   of the materials seized from Plaintiff’s residence on August 8, 2022, for criminal investigative

   purposes pending resolution of the special master’s review process.” Id. at 23-24. But the

   ongoing Intelligence Community (“IC”) classification review and assessment are closely

   interconnected with—and cannot be readily separated from—areas of inquiry of DOJ’s and

   the FBI’s ongoing criminal investigation, as further explained in the attached Declaration of

   Alan E. Kohler, Jr., Assistant Director of the FBI’s Counterintelligence Division (“Kohler

   Decl.”).

            To begin with, the FBI itself is part of the Intelligence Community, see Exec. Order

   12,333 § 1.14, and since the 9/11 attacks, the FBI has integrated its intelligence and law

   enforcement functions when it exercises its national security mission. Kohler Decl. ¶ 8. The

   FBI conducts investigations that “may constitute an exercise both of the FBI’s criminal

   investigation authority and of the FBI’s authority to investigate threats to the national

   security.”    Attorney   General’s   Guidelines    for   Domestic   FBI    Operations    6    (2008),



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   https://www.justice.gov/archive/opa/docs/guidelines.pdf. Before the Court’s Order, the

   same personnel from the FBI involved in the criminal investigation were coordinating

   appropriately with the IC in its review and assessment. The application of the injunction to

   classified records would thus frustrate the government’s ability to conduct an effective

   national security risk assessment and classification review and could preclude the government

   from taking necessary remedial steps in light of that review—risking irreparable harm to our

   national security and intelligence interests. The government will also suffer irreparable harm

   if it cannot review and use the classified materials as part of its criminal investigation, and if

   it is forced to disclose classified materials outside the Executive Branch in circumstances

   where there would be no valid purpose served by such disclosure.

               a. The Intelligence Community’s Classification Review and National Security
                  Risk Assessment Are Inextricably Linked With DOJ’s and the FBI’s
                  Criminal Investigation

            The Court’s order expressly permits the government “to review and use the [seized]

   materials for purposes of intelligence classification and national security assessments,” D.E.

   64 at 24, while enjoining the government from using the seized records “for criminal

   investigative purposes,” id. at 23. But those processes are inextricably intertwined. Absent a

   stay with respect to the classified records, therefore, the injunction will as a practical matter

   prevent the IC’s classification review and national security risk assessment from proceeding

   effectively.

            As part of a classification review, an “original classification authority” 3 is asked to

   determine whether documents bearing classification markings are, in fact, properly



   3
       “‘Original classification authority’ means an individual authorized in writing, either by

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   classified—i.e., whether “the unauthorized disclosure of the information reasonably could be

   expected to result in damage to the national security.” E.O. 13526 § 1.1(a)(4). As explained

   by Assistant Director Kohler, a classification review informs the IC’s “national security risk

   assessment,” and the FBI uses that review to inform its “criminal investigation into the

   potential mishandling of . . . national defense information,” as to which classification status

   is highly relevant. Kohler Decl. ¶ 6, 7; see, e.g., United States v. Truong Dinh Hung, 629 F.2d

   908, 918 (4th Cir. 1980) (“Certainly the classification of the documents was relevant to the

   question of whether they related to the ‘national defense.’”); United States v. Rosen, 445 F.

   Supp. 2d 602, 623 (E.D. Va. 2006) (classification status is “highly probative of whether

   the information at issue is ‘information relating to the national defense’”).

          Furthermore, the IC’s review and related assessment are simply one facet of the overall

   effort by the government to respond to and mitigate any risks to national security. For

   example, in order to assess the full scope of potential harms to national security resulting from

   the improper retention of the classified records, the government must assess the likelihood

   that improperly stored classified information may have been accessed by others and

   compromised. 4 But that inquiry is a core aspect of the FBI’s criminal investigation. Critically,




   the President, the Vice President, or by agency heads or other officials designated by the
   President, to classify information in the first instance.” E.O. 13526 § 6.1(gg).
   4
     Departments and agencies in the IC would then consider this information to determine
   whether they need to treat certain sources and methods as compromised. See, e.g., Exhibit A
   to Sentencing Memorandum, United States v. Pho, No. 1:17-cr-631 (D. Md. Sept. 18, 2018),
   D.E. 20-1 (letter from Adm. Michael S. Rogers, Director, National Security Agency) (“Once
   the government loses positive control over classified material, the government must often treat
   the material as compromised and take remedial actions as dictated by the particular
   circumstances.”).

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   IC elements such as the Central Intelligence Agency have extremely limited authority to

   conduct domestic investigations. See 50 U.S.C. § 3036(d)(1) (“[T]he Central Intelligence

   Agency shall have no police, subpoena, or law enforcement powers or internal security

   functions.”). Within the United States, the FBI would pursue any allegation or lead indicating

   that the classified records may have been accessed, retained, or disseminated in violation of

   the law, including by using the tools and authorities of a criminal investigation. If, for

   example, another department or agency in the IC were to obtain intelligence indicating that

   a classified document in the seized materials might have been compromised, the FBI would

   be responsible for taking some of the necessary steps to evaluate that risk. Kohler Decl. ¶ 9.

   The same is true of the empty folders with “‘classified’ banners” that were among the seized

   materials here, see D.E. 39-1: The FBI would be chiefly responsible for investigating what

   materials may have once been stored in these folders and whether they may have been lost or

   compromised—steps that, again, may require the use of grand jury subpoenas, search

   warrants, and other criminal investigative tools and could lead to evidence that would also be

   highly relevant to advancing the criminal investigation.

          The integration of the FBI’s criminal investigative and national security-related

   missions would also make it exceedingly difficult to bifurcate the FBI personnel working on

   the criminal investigation from those working in conjunction with other departments or

   agencies in the IC. Any FBI agent or analyst who investigated whether the classified records

   were improperly accessed, for instance, would by definition be gathering information highly

   relevant to—and thus in furtherance of—“criminal investigative purposes,” D.E. 64, at 23.

   And such bifurcation would make little sense even if it were feasible, given that the same



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   senior DOJ and FBI officials are ultimately responsible for supervising the criminal

   investigation and for ensuring that DOJ and FBI are coordinating appropriately with the IC

   on its classification review and assessment. See Kohler Decl. ¶ 10.

          In short, the injunction, as applied to the classified records, would undermine the

   government’s overall effort to assess and respond to any risks to national security posed by

   these circumstances. In allowing the IC’s review and assessment to proceed, the Court

   appears to have recognized that the government and the public would be irreparably harmed

   if the government could not determine the nature and extent of the potentially compromised

   materials and the resulting risks to national security. But absent a partial stay, the Court’s

   injunction will compromise those critical interests.

              b. Absent a Partial Stay, the Government’s Criminal Investigation Will Be
                 Irreparably Harmed

          Without a stay, the government and public also will suffer irreparable harm from the

   undue delay to the criminal investigation. The public has an “interest in the fair and expeditious

   administration of the criminal laws.” United States v. Dionisio, 410 U.S. 1, 17 (1973) (emphasis

   added); see Cobbledick v. United States, 309 U.S. 323, 325 (1940) (“[E]ncouragement of delay is

   fatal to the vindication of the criminal law.”). The Court did “not find that a temporary special

   master review under the present circumstances would cause undue delay,” D.E. 64 at 22, but

   the Court’s reasoning is of limited force with respect to special-master review of the classified

   records in particular. As explained above, the classified records do not contain personal

   information or communications protected by a personal attorney-client privilege, and any

   delay poses significant concerns in the context of an investigation into the mishandling of

   classified records. The government’s need to proceed apace is particularly heightened where,


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   as here, obstructive acts may impede its investigation. See Order on Motions to Unseal at 7-

   8, In re Sealed Search Warrant, No. 22-8332-BER (S.D. Fla. Aug. 22, 2022) (noting that

   magistrate judge found probable cause for violations of 18 U.S.C. § 1519, “which prohibits

   obstructing an investigation,” and discussing risks of “obstruction of justice”).

          In addition, the injunction against using classified records in the criminal investigation

   could impede efforts to identify the existence of any additional classified records that are not

   being properly stored—which itself presents the potential for ongoing risk to national security.

   To be sure, the Court did not enjoin the criminal investigation altogether. For example, the

   government does not understand the Court’s injunction against the government’s review and

   use of seized materials for criminal investigative purposes to prevent it from questioning

   witnesses and obtaining evidence about issues such as how classified records in general were

   moved from the White House, how they were subsequently stored, and what steps Plaintiff

   and his representatives took in response to the May 11, 2022 grand jury subpoena. The

   government also does not understand the Order to bar it from asking witnesses about any

   recollections they may have of classified records, so long as the government does not use the

   content of seized classified records to question witnesses (which the Order appears to

   prohibit). 5 Even so, the prohibition on the review and use of the classified records is uniquely

   harmful here, where the criminal investigation concerns the retention and handling of those

   very records, with the concomitant national-security concerns raised by that conduct.


   5
     The government also does not understand the Court’s Order to bar DOJ, FBI, and ODNI
   from briefing Congressional leaders with intelligence oversight responsibilities regarding the
   classified records that were recovered. The government similarly does not understand the
   Order to restrict senior DOJ and FBI officials, who have supervisory responsibilities regarding
   the criminal investigation, from reviewing those records in preparation for such a briefing.

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              c. The Government and the Public Would Be Irreparably Harmed by the
                 Unnecessary Dissemination of Classified Records

          Finally, the Court’s order would irreparably harm the government and the public by

   unnecessarily requiring the government to share highly classified materials with a special

   master. The Supreme Court has emphasized that, “[f]or ‘reasons . . . too obvious to call for

   enlarged discussion,’ . . . the protection of classified information must be committed to the

   broad discretion of the agency responsible, and this must include broad discretion to

   determine who may have access to it.” Egan, 484 U.S. at 529. The Court has thus recognized

   that the Executive Branch has a “compelling interest in withholding national security

   information from unauthorized persons.” Id. at 527. That interest applies even when an

   individual has the requisite clearance: Classified information is carefully controlled and

   shared only with those who have a “need to know it.” United States v. Daoud, 755 F.3d 479,

   484 (7th Cir. 2014); see Exec. Order 13526, § 4.1a. Where, as here, there is no valid purpose

   to be served by a special master’s review of classified materials, compelled disclosure of those

   materials to a special master is itself an irreparable harm.

      III.    A Partial Stay Would Impose No Cognizable Harm on Plaintiff

          On the other side of the balance, allowing the government to use and review the seized

   classified records for criminal investigative purposes would not cause any legally cognizable

   injury to Plaintiff. As explained above—and as Plaintiff has never disputed—Plaintiff has no

   property, possessory, or other legal interest in classified records. None of the potential harms

   to Plaintiff identified by the Court, cf. D.E. 64, at 22-23, applies with respect to classified

   records. And given that the classified records number “roughly 100” of “the approximately

   11,000 documents seized,” id. at 4 n.4, any incremental harm to Plaintiff from the


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   government’s continued use of those documents in its ongoing criminal investigation into the

   handling of those very documents is minimal at best—especially because criminal

   investigators have already reviewed them, id. at 6.

          Plaintiff’s only possible “injury” relates to the government’s investigation itself, but

   that injury is not legally cognizable. As the Supreme Court has made clear, “the cost, anxiety,

   and inconvenience of having to defend against” potential criminal prosecution cannot “by

   themselves be considered ‘irreparable’ in the special legal sense of that term.” Younger v. Harris,

   401 U.S. 37, 46 (1971); cf. Cobbledick, 309 U.S. at 325 (“Bearing the discomfiture and cost of

   a prosecution for crime even by an innocent person is one of the painful obligations of

   citizenship.”). That is why courts have exercised great caution before interfering through civil

   actions with criminal investigations or pending cases. See also Deaver v. Seymour, 822 F.2d 66,

   69-71 (D.C. Cir. 1987) (applying Younger’s principles with regard to potential federal charges);

   Ramsden v. United States, 2 F.3d 322, 326 (9th Cir. 1993) (“The mere threat of prosecution is

   not sufficient to constitute irreparable harm.”). And those fundamental principles strongly

   support the limited stay the government seeks here.

                                              Conclusion

          The Court should issue an immediate order staying its September 5, 2022 Order

   pending appeal to the extent the Order (1) enjoins the further review and use for criminal

   investigative purposes of records bearing classification markings and (2) requires the

   government to disclose those classified records to a special master.

          Counsel for the United States has conferred with counsel for Plaintiff, and Plaintiff

   opposes the government’s motion.



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                                      Respectfully submitted,


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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on September 8, 2022, I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

   document is being served this day on all counsel of record via transmission of Notices of

   Electronic Filing generated by CM/ECF.



                                            s/Juan Antonio Gonzalez
                                            Juan Antonio Gonzalez
                                            United States Attorney
